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 8   Attorneys for Reorganized Debtor
     RPM HARBOR SERVICES, INC.
 9   and SHAWN DUKE
10
                              UNITED STATES BANKRUPTCY COURT
11                             CENTRAL DISTRICT OF CALIFORNIA
                                    LOS ANGELES DIVISION
12
     In re                                             Case No. 2:17-bk-14484-WB
13
     RPM HARBOR SERVICES, INC.,                        Chapter 11
14

15           Debtor and Debtor in Possession.  Adv. No. 2:20-ap-01156-WB
     _____________________________________
16   GABRIEL TURCIOS, an individual, on behalf STIPULATION TO WITHDRAW ALL
     of himself and others similarly situated, PENDING MOTIONS AND DISMISS
17                                             ADVERSARY PROCEEDING
18                          Plaintiffs,
19                                                     Date: May 28, 2024
              vs.                                      Time: 2:00 PM
20                                                     Place: Edward R. Roybal Federal Building
     RPM HARBOR SERVICES, INC., a                             and Courthouse - Courtroom 1375
21   California Corporation; SHAWN DUKE, an
     individual; and does 1-100, inclusive,
22

23                          Defendants.

24

25           RPM Harbor Services, Inc., the reorganized debtor in the above-captioned bankruptcy
26   case (“RPM”) and Shawn Duke (“Shawn”) (collectively, the “Defendants”), on the one hand,
27   and Gabriel Turcios (“Turcios” or the “Plaintiff”) (collectively, the “Parties”), on the other hand,
28   by and through their attorneys of record, hereby stipulate to withdraw all pending motions

                                                      1
      JOINT STIPULATION TO WITHDRAW PENDING MOTIONS AND DISMISS ADVERSARY ACTION
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 1   dismiss the above-captioned adversary proceeding pursuant to Federal Rule of Bankruptcy

 2   Procedure 7041 and Federal Rule of Civil Procedure 42 and in the adversary proceeding as

 3   follows based on the following facts and recitals:

 4           A.     On April 17, 2020, Turcios, on behalf of himself and others similarly situated,

 5   brought an action against the Defendants (the “State Court Action”). The action was commenced

 6   by the filing of a Verified Complaint (the “Complaint”) in the Superior Court for the State of

 7   California, County of Los Angeles (the “State Court”), designated Case No. 20STCV15139.

 8           B.     On July 10, 2020, Defendants filed a motion to reopen the above-captioned

 9   bankruptcy case in order to remove the State Court Action to federal court. On the same date,

10   Defendants removed the State Court Action to the above-entitled United States Bankruptcy

11   Court for the Central District of California. [Adv. Dkt. No. 1.]

12           C.     Plaintiff filed his Motion for Remand on September 29, 2020. [Adv. Dkt. No.

13   21.].

14           D.     Subsequently, Defendants filed a Motion for Order to Show Cause re Contempt

15   (the “OSC Motion”) [Adv. Dkt. No. 26.] Defendants also filed a Motion to Dismiss Adversary

16   Proceeding on October 6, 2020 (the “Motion to Dismiss”). [Adv. Dkt. No. 28.]

17           E.     The OSC Motion, Motion for Remand, and Motion to Dismiss were continued a

18   number of times to allow the Parties time to explore a settlement.

19           F.     The parties attended mediation which resulted in a resolution of all issues.

20           G.     The Bankruptcy Court then entered an order remanding to the State Court “all

21   claims based on acts occurring following confirmation of RPM’s plan of reorganization on

22   January 29, 2019…” [Adv. Dkt. No. 82.]

23           H.     Following the Bankruptcy Court’s order remanding the case, the Parties sought

24   and obtained preliminary approval of the settlement agreement from the State Court.

25           I.     The State Court granted final approval of the class action settlement on March 22,

26   2024.

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                                                      2
      JOINT STIPULATION TO WITHDRAW PENDING MOTIONS AND DISMISS ADVERSARY ACTION
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                                      /s/ Michael B. Lubic
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is K&L
Gates LLP, 10100 Santa Monica Boulevard, 8th Floor, Los Angeles, California 90067.

A true and correct copy of the foregoing document entitled STIPULATION TO WITHDRAW ALL PENDING MOTIONS
AND DISMISS ADVERSARY PROCEEDING will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On May 14,
2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Armando V Arballo aarballo@bgrfirm.com, gmitchell@bgrfirm.com
       Vanessa M Haberbush vhaberbush@lbinsolvency.com,
        dhaberbush@lbinsolvency.com,ahaberbush@lbinsolvency.com,abostic@lbinsolvency.com,haberbush.assistant
        @gmail.com,jborin@lbinsolvency.com,lbogard@lbinsolvency.com
       Michael B Lubic michael.lubic@klgates.com,
        jonathan.randolph@klgates.com,klgatesbankruptcy@klgates.com
       Robert S Marticello rmarticello@raineslaw.com, bclark@raineslaw.com;jfisher@raineslaw.com
       Michael Simon msimon@raineslaw.com,
        lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
       Daniel Srourian daniel@slfla.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On May 14, 2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Hon. Julia W. Brand / United States Bankruptcy Court
Central District of California / Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382 / Courtroom 1375
Los Angeles, CA 90012
                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 May 14, 2024             Jonathan Randolph                                                     /s/ Jonathan Randolph
 Date                           Printed Name                                                    Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
